 Case 18-55697-lrc       Doc 333-1 Filed 02/02/21 Entered 02/02/21 08:21:05               Desc
                            Certificate of Service Page 1 of 10



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                              :       CHAPTER 7
                                                    :
CASSANDRA JOHNSON LANDRY,                           :       CASE NO. 18-55697-LRC
                                                    :
         Debtor.                                    :

                                CERTIFICATE OF SERVICE

     I, S. Gregory Hays, Chapter 7 Trustee, certify that I am over the age of 18 and that on this
date, I served a copy of the foregoing NOTICE OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION AND DEADLINE TO OBJECT (NFR) by first
class U.S. Mail, with adequate postage prepaid, on the persons or entities at the addresses stated
on the attached Exhibit “A”.

         This 2nd day of February, 2021.

                                                     /s/ S. Gregory Hays
                                                    S. Gregory Hays
                                                    Chapter 7 Trustee

Hays Financial Consulting, LLC
2964 Peachtree Rd, N.W
Suite 555
Atlanta, Georgia 30305
(404) 926-0060
Case 18-55697-lrc   Doc 333-1 Filed 02/02/21 Entered 02/02/21 08:21:05   Desc
                       Certificate of Service Page 2 of 10




                                 Exhibit “A”
              Case 18-55697-lrc   Doc 333-1 Filed 02/02/21 Entered 02/02/21 08:21:05      Desc
                                     Certificate of Service Page 3 of 10
Macy’s American Express              Cogency Global Inc               Grossman & Karaszewski PLLC
PO Box 9001108                       Joan Wagner                      Attn William Grossman
Louisville, KY 40290-1108            10 East 40th Street              5965 Transit Road Ste 500
                                     New York, NY 10016-0201          East Amherst, NY 14051-1874


Brian K. Jordan                      Judy Fitzgerald                  Delong, Caldwell, Bridges,
Aldridge Pite, LLP                   GA Commissioner of BHDD          Fitzpatrick & Benjamin LLC
3575 Piedmont Rd, N.E., Ste 500      Two Peachtree St NW 24th Floor   101 Marietta NW Ste 3100
Fifteen Piedmont Center              Atlanta, GA 30303-3142           Atlanta, GA 30303-2731
Atlanta, GA 30305
Department of the Treasury           Georgia Department of            Valeri Burnough
Internal Revenue Service             Community Health                 Delong Caldwell Bridgers
P.O. Box 7346                        Benefit’s Recovery Section       Fitzpatrick & Benjamin
Philadelphia, PA 19101-7346          2 Peachtree Street, NW 40th Fl   101 Marietta St, NW, Suite 3100
                                     Atlanta, GA 30303-3141           Atlanta, GA 30303-2731
Cb/VicScrt                           Regency Mortgage                 TMX FINANCE LLC
PO Box 182789                        5395 Roswell Rd NE               FORMERLY TITLEMAX
Columbus, OH 43218-2789              Atlanta, GA 30342-1976           15 BULL STREET
                                                                      SUITE 200
                                                                      SAVANNAH, GA 31401-2686
Chicago Title Company                Chase Mortgage                   David S. Klein
601 Riverside Ave                    PO Box 24696                     Rountree Leitman & Klein, LLC
Jacksonville, FL 32204-2946          Columbus, OH 43224               Century Plaza I
                                                                      2987 Clairmont Road, Suite 350
                                                                      Atlanta, GA 30329
The Downs Homeowners Assoc           GE Mortgage Insurance            Synchrony Bank (Sam’s Club)
c/o Community Mgmt Inc               150 Grossman Dr Suite 301        Midland Funding
2120 Hwy 81                          Braintree, MA 02184-4951         1355 Roswell Rd Ste 240
Loganville, GA 30052-4331                                             Marietta, GA 30062-3690


Valeri Burnough                      Attachment and Bonding Ctr.      Maury Cobb
7842 Clearview Cir                   Of Atlanta                       Attorney at Law LLC
Riverdale, GA 30296                  3547 Habersham at Northlake      T-Mobile
                                     Bldg. F                          301 Beacon Parkway W, Ste 100
                                     Tucker, GA 30084-4001            Birmingham, AL 35209-3103
Gregory M. Taube                     Altisource Profolio Solutions    Veripro Solutions
Nelson Mullins Riley                 C/O Corporation Service Co.      PO Box 3572
& Scarborough, LLP                   40 Technology Parkway South      Coppell, TX 75019-5538
201 17th Street, NW, Ste 1700        Norcross, GA 30092-2924
Atlanta, GA 30363-1099
Annette M Cowart 191199              Jojo John                        Jeffrey E Atkinson
Deputy Attorney General              360 Brackin Trace                c/o William Calvin Bomar
456 Athens ST                        Grayson, GA 30017-4900           100 Galleria Pkwy SE
Jefferson, GA 30549-1408                                              Atlanta, GA 30339-3165


Homeside Properties Inc              Payne Richards & Associates      Amerigroup Corporation
2555 Westside Parkway                801 Pegasus Dr. Suite 101        C/O C T Corporation System
Ste 600                              Bakersfield, CA 93308            289 S Culver St
Alpharetta, GA 30004-4191                                             Lawrenceville, GA 30046-4805
              Case 18-55697-lrc   Doc 333-1 Filed 02/02/21 Entered 02/02/21 08:21:05         Desc
                                     Certificate of Service Page 4 of 10
Altisource Profolio Solutions        Michelle Townes                     Select Portfolio Services
Sophie A Hubscher                    456 Athens St                       PO Box 65450
1000 Abernathy Rd Ste 200            Jefferson, GA 30549-1408            Salt Lake City, UT 84165-0450
Atlanta, GA 30328-5604


Chase Card Services                  Aldrige Pite LLP                    Dorough & Dorough
PO Box 15298                         15 Piedmont Center                  160 Clairemont Ave
Wilmington, DE 19850                 3575 Piedmont Rd NE                 Ste 630
                                     Atlanta, GA 30305-1623              Decatur, GA 30030-2534


Ellice P. Martin, Secretary          P Brian Campbell                    Emory Eastside Medical Center
GA Dept of Behavioral Health         Assistant Attorney General          Resurgent Capital Services
Two Peachtree St NW 24th Floor       456 Athens ST                       PO Box 1927
Atlanta, GA 30303-3142               Jefferson, GA 30549-1408            Greenville, SC 29602-1927


Advantage Collection Prof. LLC       Ocwen Loan Svc/Option One           Riverdale Funding
P.O. Box 353                         PO Box 24605                        C/O Woodbridge Funding
Cambridge, MN 55008-0353             W. Palm Beach, FL 33416-4605        12050 Ventura Blvd
                                                                         Studio City, CA 91604-2638


DSNB MACY S                          Ardent Mortgage Company             CACH LLC
CITIBANK                             2677 N. Main Street                 Harold E. Scherr
1000 TECHNOLOGY DRIVE                Suite 140                           300 Primera Blvd., #356
MS 777                               Santa Ana, CA 92705-6659            Lake Mary, FL 32746-2142
O FALLON, MO 63368-2222
Michelle Townes 714924               PNC Bank National Association Inc   Tamera Bell
Assistant Attorney General           300 Fifth Avenue                    5220 North Somerset LN
456 Athens ST                        Pittsburgh, PA 15222-2401           Alpharetta, GA 30004-7419
Jefferson, GA 30549-1408


Lazega & Johanson LLC                Forrestall CPA                      CACH LLC
Bradley W Griffin 746187             5328 Lanier Islands Pkwy            Resurgent Capital Services
3520 Piedmont Rd NE                  Ste 201                             PO Box 5235
Atlanta, GA 30305-1512               Buford, GA 30518-9056               Greenville, SC 29606


PNC Bank NA Inc.                     Resurgent Capital Services LLP      TitleMax Corporate Office
C/O Christi Davis                    Freshview Solutions                 15 Bull Street
Board Secretary                      PO Box 10497                        Savannah, GA 31401-2685
300 Fifth Avenue                     Greenville, SC 29603-0497
Pittsburgh, PA 15222-2401
CMIT Solutions of Atlanta            Valeri Burnough                     H & R BLOCK MORTGAGE
North Perimeter                      c/o Cassandra Johnson Landry        P.O. BOX 949
1200 Abernathy Rd                    PO Box 1275                         Orange, CA 92856-6949
Atlanta, GA 30328-5671               Grayson, GA 30017


Cogency Global Inc                   Cogency Global Inc                  HomeBanc Mortgage
Axis Research                        Francis S. Halliman                 101 E. Kennedy Blvd
900 Old Roswell Lakes Pkwy           900 Old Roswell Lakes Pkwy          Ste 4100
Roswell, GA 30076-8667               Roswell, GA 30076-8667              Tampa, FL 33602-5164
             Case 18-55697-lrc     Doc 333-1 Filed 02/02/21 Entered 02/02/21 08:21:05         Desc
                                      Certificate of Service Page 5 of 10
G. Lanier Coulter Jr.                 Resurgent Capital Services           The Downs Homeowners Assoc, Inc.
Coulter & Sierra, LLC                 Cach, LLC                            c/o Lazega & Johanson, LLC
1770 Indian Trail Road                55 Beattie Pl Ste 110                P.O. Box 250800
Suite 440                             Greenville, SC 29601-5115            Atlanta, GA 30325-1600
Norcross, GA 30093-2644
Andrew Houston McCullen               Alpha Recovery Corporation           Eastside Medical
Aldridge Pite LLP                     5660 Greenwood Plaza Blvd            PO Box 740766
Fifteen Piedmont Center               Ste 101                              Cincinnati, OH 45274-0766
Suite 500                             Greenwood Village, CO 80111
Atlanta, GA 30305-1636
Chase                                 H and R Block Mortgage               Credence Resource Management, LLC
PO Box 15298                          C/O Option One                       6045 Atlantic Blvd
Wilmington, DE 19850                  PO Box 949                           Norcross, GA 30071-1321
                                      Orange, CA 92856-6949


Woodbridge Group of Comp., LLC        Allstate Corp                        Wilmington Savings Fund Soc., FSB
c/o Riverdale Funding                 Payne Richards and Associates        c/o Carrington Mort. Serv LLC
207 Mockingbird Ln Ste 402            3801 Pegasus Dr, Ste 101             Bankruptcy Department
Johnson City, TN 37604-3137           Bakersfield, CA 93308-6874           1600 S Douglass Road
                                                                           ANAHEIM, CA 92806-5951
Woodbridge Group of Comp., LLC        De Lage Landen                       DE LAGE LANDEN FINANCIAL
c/o GCG                               Financial Services Inc.              ATTN LITIGATION & RECOVERY
P.O. Box 10545                        1111 Old Eagle School Rd             1111 OLD EAGLE SCHOOL ROAD
Dublin, OH 43017-0208                 Wayne, PA 19087                      WAYNE, PA 19087-1453


Nelson Mullins Riley                  De Lage Landen                       Robert Trauner
and Scarborough LLP                   Financial Services Inc.              P. O. Box 421025
Attorney Greg Taube                   1775 Tysons Blvd                     Atlanta, GA 30342-8025
201 17th 81 NW Ste 1700               Tyson, VA 22102-4284
Atlanta, GA 30363-1099
Altisource Profolio Solutions         Ocwen Loan Servicing                 Sound Telecom
Weissman Nowack Curry & Wilco PC      Nationstar                           PO Box 789050
1000 Abernathy Rd Ste 200             PO Box 660264                        Philadelphia, PA 19178-9050
Atlanta, GA 30328-5604                Dallas, TX 75266-0264


Mark S Zemelman                       De Lage Landen Financial Serv Inc.   Comcast
Kaiser Permanente                     William Leroy Deckelman Jr.          Cassandra Johnson Landry
One Kaiser Plaza                      1775 Tysons Blvd                     PO Box 1275
Oakland, CA 94612-3610                Tyson, VA 22102-4284                 Grayson, GA 30017


Bank of America, N.A.                 Southwest Chase                      CACH LLC
P O Box 982284                        PO Box 1423                          PO Box 5980
El Paso, TX 79998-2284                Charlotte, NC 282                    Denver, CO 80217-5980



Quantum3 Group LLC as agent for       Safeco Insurance                     Capital One/American Express
Comenity Bank                         175 Berkeley Street                  The Bureaus
PO Box 788                            Boston, MA 02116-5066                1717 Central St
Kirkland, WA 98083-0788                                                    Evanston, IL 60201-1507
              Case 18-55697-lrc   Doc 333-1 Filed 02/02/21 Entered 02/02/21 08:21:05         Desc
                                     Certificate of Service Page 6 of 10
Media Pages                          Shawna Staton                       Maria A. Tsagaris
28364 South Western Ave              Office of the US Trustee            McCalla Raymer Liebert Pierce
#28                                  362 Richard Russell Building        1544 Old Alabama Road
Rancho Palos Verdes, CA 90275        75 Ted Turner Drive, SW             Roswell, GA 30076-2102
                                     Atlanta, GA 30303
National Board of Certified          ReadyCap Lending, LLC               Timothy R Hester
Counselors                           c/o Eileen Bottino                  1551 Annapolis Way
Andreea Tiganus                      420 Mountain Ave                    Grayson, GA 30017-1097
3 Terrace Way                        New Providence, NJ 07974-2736
Greensboro, NC 27403-3660
Deutsche Bank National Trust Co      Georgia Department of Behaviorial   Huron Law Group
Ocwen Loan Servicing, LLC            Health & Developmental Disabil      34851 Harry S Truman Blvd
Attn: Bankruptcy Department          Commissioner’s Office               St. Charles, MO 63301
PO Box 24605                         2 Peachtree Street, NW 24th Floor
West Palm Beach, FL 33416-4605       Atlanta, GA 30303-3142
Dorian Murry                         GreatAmerica Financial Svcs.        OnceLogix LLC
Attorney at Law                      PO Box 660831                       111 North Chestnut St
5300 Memorial Dr                     Dallas, TX 75266-0831               Ste 302
Stone Mountain, GA 30083-3155                                            Winston Salem, NC 27101-4056


American Express                     Safeco Insurance                    Weissman Nowack Curry & Wilco PC
Delta Sky Miles                      P.O. Box 10002                      Altisource Portfolio Solutions
PO Box 297871                        Manchester, NH 03108-1002           One Alliance Center
Fort Lauderdale, FL 33329-7871                                           3500 Lenox Rd 4th Floor
                                                                         Atlanta, GA 30326-4228
Ocwen Loan/Nationstar                Residential Title Inc               Saks World Elite/Capital One
PO Box 24605                         Kenneth E. Sullivan                 Frontline Asset Strategy
West Palm Beach, FL 33416-4605       245 West Crogan St                  2700 Snelling Ave N Ste 250
                                     Lawrenceville, GA 30046-4863        Roseville, MN 55113-1783


Huron Group/Bank of America          Georgia Power                       CACH, LLC
Cooling Water                        c/o Kevin Pearson                   Resurgent Capital Services
1355 Roswell Rd, Ste 240             241 Ralph McGill Blvd NE            PO Box 10587
Marietta, GA 30062-3690              Atlanta, GA 30308-3374              Greenville, SC 29603-0587


Carl W Wright PC                     Publishers Clearing House           Association for Habersham
1239 Lakeview Cove                   PO Box 6344                         160 Clairmont Ave
Loganville, GA 30052                 Harlan, IA 51593-1844               Decatur, GA 30030-2500



McCalla Raymer Leibert Pierce        Amerigroup Corporation (Delaware)   American Express Delta Sky Miles
1544 Old Alabama Rd                  4425 Corporation Lane               PO Box 1270
Roswell, GA 30076-2102               Virginia Beach, VA 23462-3103       Newark, NJ 07101-1270



Lindsay P. S. Kolba                  First Franklin                      Jackson & Hardwick
Office of the U.S. Trustee           4061 Powder Mill Rd #600            2325 Lakeview Pkwy #275
Suite 362                            Calverton, MD 20705-4039            Alpharetta, GA 30009-7944
75 Ted Turner Drive, S.W.
Atlanta, GA 30303-3330
               Case 18-55697-lrc     Doc 333-1 Filed 02/02/21 Entered 02/02/21 08:21:05         Desc
                                        Certificate of Service Page 7 of 10
Credence Resource Management            Altisource Profolio Solutions       Great America Financial Service
17000 Dallas Parkway Suite 204          John A Vella                        625 First Street SE, Suite 600
Dallas, TX 75248-1940                   6060 Center Dr, Ste 500             Cedar Rapids, IA 52401-2031
                                        Los Angeles, CA 90045-8857


Woodbridge Mortgage                     Capital One/Marriott Visa           Honorable Justin S. Anand
Investment Fund 3A, LLC                 The Bureaus                         1868 Richard B Russell
Klee, Tuchin, Bogdanoff & Stern         1717 Central St                     Federal Bldg and US Courthouse
1999 Ave. of the Stars, 39th Floor      Evanston, IL 60201-1507             Atlanta, GA 30303-3315
Los Angeles, CA 90067-6049
Cassandra Johnson Landry                ReadyCap Lending                    Weissman Nowack Curry & Wilco PC
For Alliance For Change                 420 Mountain Ave                    One Alliance Center
PO Box 1275                             New Providence, NJ 07974-2736       3500 Lenox Rd 4th Floor
Grayson, GA 30017                                                           Atlanta, GA 30326-4228


Whitney W. Groff                        Cynthia Pope                        Kimberly Ryan, Chair
Georgia Attorney General                Small Business Administration       GA Dept of Behavioral Health &
40 Capitol Square, SW                   409 3rd St SW MC 2150               Two Peachtree St NW 24th Floor
Atlanta, GA 30334-9057                  Washington, DC 20416-0005           Atlanta, GA 30303-3142


PRA Receivables Management, LLC         Melissa J. Davey                    On Deck
PO Box 41021                            Office of Melissa J. Davey          901 North Stuart St
Norfolk, VA 23541-1021                  Standing Chapter 13 Trustee         Ste 700
                                        260 Peachtree Street, NW, Ste 200   Arlington, VA 22203-4129
                                        Atlanta, GA 30303-1236
American Express                        American Recovery Service Inc.      Stoneleigh Recovery Associates
Delta Sky Miles                         555 St. Charles Dr, Ste 100         PO Box 1479
PO Box 1270                             Thousand Oaks, CA 91360-3983        Lombard, IL 60148-8479
Newark, NJ 07101-1270


Tamera Bell                             Christopher M Carr                  Cassandra Johnson Landry
c/o Mzekewe Legal LLC                   Attorney General                    P.O. Box 1275
PO 849                                  456 Athens St                       Grayson, GA 30017-0024
Atlanta, GA 30301-0849                  Jefferson, GA 30549-1408


Altisource Portfolio Solutions          John G Aldridge Jr PC               Chicago Title Company
1000 Abernathy Rd Ste 200               Fifteen Piedmont Center             Madeline G.M. Lovejoy
Atlanta, GA 30328-5604                  3575 Piedmont Rd NE Ste 500         3210 El Camino Real
                                        Atlanta, GA 30305-1623              Irvine, CA 92602-1368


Shalen Nelson                           Jackson & Hardwick                  Sound Telecom
Senior Assistant Attorney General       253 Main St                         PO Box 789050
456 Athens St                           Loganville, GA 30052-2676           Philadelphia, PA 19172-0001
Jefferson, GA 30549-1408


Green & Associates PC                   Dorough & Dough Attys at Law        Richard Payne Associates
c/o Cassandra Johnson Landry            180 Clairemont Ave                  3801 Pegasus Dr. Suite 101
PO Box1275                              Decatur, GA 30030                   Bakersfield, CA 93308-6874
Grayson, GA 30017
              Case 18-55697-lrc   Doc 333-1 Filed 02/02/21 Entered 02/02/21 08:21:05      Desc
                                     Certificate of Service Page 8 of 10
First Franklin                       Dorough & Dorough                Liberty Mutual Insurance Company
Div of National Bank of IN           160 Clairemont Ave               175 Berkeley Street
4061 Powder Mill Rd #600             Suite 650                        Boston, MA 02116-3350
Calverton, MD 20705-4039             Decatur, GA 30030-2534


Wells Fargo                          JPMorgan Chase Bank, NA          Weissman PC
2135 East Main St                    Attn: Correspondence Mail        One Alliance Center
Ste 180                              Mail Code LA4-5555               3500 Lenox Rd 4th Floor
Snellville, GA 30078-6434            700 Kansas Lane                  Atlanta, GA 30326-4228
                                     Monroe, LA 71203
Kimberly Ryan                        Ames Funding                     Phelan Hallinan Diamond
Chair of BHDD                        2 North Lake Ave                 & Jones, PLLC (FL)
Two Peachtree St NW 24th Floor       Pasadena, CA 91101-1858          1617 JFK Boulevard Ste 1400
Atlanta, GA 30303-3142                                                Philadelphia, PA 19103-1814


U.S. Bank National Association       Office of the US Trustee         Ring Central
3476 STATEVIEW BLVD                  362 Richard Russell Building     20 Davis Dr
MAC D3347-014                        75 Ted Turner Drive, SW          Belmont, CA 94002-3002
FORT MILL, SC 29715-7203             Atlanta, GA 30303-3315


Wilmington Trust, NA                 Convergent Outsourcing Inc       Dorough & Dough
c/o Select Portfolio Serv, Inc.      PO Box 9004                      Attys at Law
P.O. Box 65250                       Renton, WA 98057-9004            160 Clairemont Ave
Salt Lake City, UT 84165-0250                                         Decatur, GA 30030-2500


Comenity Bank                        L. Stephen O’Hearn Jr.           Bureaus Investment Group
Payne Richards & Associates          Meyer & Sayers, LLP              Portfolio No 15 LLC
PO Box 10389                         P O Box 16089                    c/o PRA Receivables Mgt, LLC
Bakersfield, CA 93389-0389           Savannah, GA 31416-2789          PO Box 41021
                                                                      Norfolk, VA 23541-1021
Alliance For Change                  Travelers Insurance              Natchez Trace HOA, Inc.
Through Treatment LLC                175 Berkeley Street              G. Lanier Coulter
C/o Cassandra Johnson-Landry         Boston, MA 02116-5066            1770 Indian Trail Road
P.O. Box 1275                                                         Ste 440
Grayson, GA 30017-0024                                                Norcross, GA 30093-2644
Great America Financial Service      Catherine C. Kruger PC           Sarah Hawkins
625 First St. SE, Suite 800          PO Box 767847                    Little Rock Commercial
Cedar Rapids, IA 52401-2031          Roswell, GA 30076-7847           2120 Riverfront Drive
                                                                      Little Rock, AR 72202-1794


Heather D. Bock                      North Fulton Title Co            Parnell & Parnell
McCalla Raymer                       Stephen L Jenkins                641 South Lawrence St
Leibert Pierce LLC                   4463 Towne Lake Pkwy             Montgomery, AL 36104-5848
1544 Old Alabama Road                Woodstock, GA 30189-8230
Roswell, GA 30076-2102
Parnell and Parnell                  Judy Fitzgerald, Commissioner    Resurgent Capital Services LLP
PO Box 2139                          GA Dept of Behavioral Health &   CACH LLC
Montgomery, AL 36102                 Two Peachtree St NW 24th Floor   P.O. Box 10497
                                     Atlanta, GA 30303-3142           Greenville, SC 29603-0497
              Case 18-55697-lrc      Doc 333-1 Filed 02/02/21 Entered 02/02/21 08:21:05           Desc
                                        Certificate of Service Page 9 of 10
Riverdale Funding                       De Lage Landen                       Synchrony Bank
c/o Woodbridge Lending                  Financial Services Inc.              c/o PRA Receivables Mgt, LLC
Woodbridge Group of Companies, LLC      C T Corporation                      PO Box 41021
12050 Ventura Blvd                      289 S Culver St                      Norfolk, VA 23541-1021
Studio City, CA 91604                   Lawrenceville, GA 30046-4805
Association for Habersham               Georgia Department of Behaviorial    OnDeck
c/o Dorough & Dorough                   Health & Developmental Disabil       1400 Broadway
160 Clairmont Ave                       Commissioner’s Office, Frank Berry   New York, NY 10018-5300
Ste 630                                 2 Peachtree Street, NW 24th Floor
Decatur, GA 30030-2500                  Atlanta, GA 30303-3142
A+ Security Systems Inc.                Carrington Mortgage                  Kerry S. Doolittle
c/o Cassandra Johnson Landry            1600 South Douglass Rd               Kerry S. Doolittle
PO Box 1275                             Suite 100 & 200A                     Attorney at Law
Grayson, GA 30017                       Anaheim, CA 92806                    PO Box 949
                                                                             Watkinsville, GA 30677-0021
Jeanette B Burns                        Natchez Trace HOA                    Credit Central Services LLC
Weissman Nowack Curry & Wilco PC        839 Natchez Valley Trace             9550 Regency Square Blvd
5909 Peachtree Dunwoody Road            Grayson, GA 30017-4963               Suite 500A
Atlanta, GA 30328-8102                                                       Jacksonville, FL 32225-8169


Hedrick Kring PLLC                      Carl W. Wright PC                    Macquarie Equipment Finance
Delta                                   367 Athens Hwy Ste 900               PO Box 2017
1700 Pacific Ave Ste 4650               Loganville, GA 30052-4997            Bloomfield Hills, MI 48303-2017
Dallas, TX 75201-4684


De Lage Landen                          Regions Mortgage                     Jeanette B Burns
Financial Services Inc.                 605 South Perry Street               1225 Johnson Ferry Rd
Hays Potter Martin LLP                  Montgomery, AL 36104-5821            Marietta, GA 30068-2727
3945 Holcomb Bridge Rd Ste 300
Peachtree Corners, GA 30092
Honorable Leigh Martin May              Ames Funding                         Honorable Leigh Martin May
2167 Richard B Russell                  2 N. Lake Ave.                       2167 Richard B Russell
Federal Bldg                            Ste 260                              Federal Bldg and US Courthouse
75 Ted Turner Drive SW                  Pasadena, CA 91101-4177              Atlanta, GA 30303-3315
Atlanta, GA 30303-3315
Georgia Department of Comm Health       Gwinnett County Fire and             US PREMIUM FINANCE
2 Peachtree Street, NW 40th Fl.         Emergency Services                   280 TECHNOLOGY PARKWAY
Atlanta, GA 30303-3141                  480 Bedford Rd                       SUITE 200
                                        Chappaqua, NY 10514-1715             NORCROSS, GA 30092-2990


Richard Green, II                       Altisource Profolio Solutions        PNC Bank NA Inc.
Administrative Judge                    Timothy G.N. Harcourt                c/o Corporation Service Company
191 Peachtree St NE                     1000 Abernathy Rd Ste 200            40 Technology Pkwy South
Atlanta, GA 30303-1784                  Atlanta, GA 30328-5604               Norcross, GA 30092-2924


Eileen G. Bottino                       Association for Habersham at         Coast to Coast Financial Solutions
ReadyCap Lending LLC                    Nortlake Condominium                 Shred It
420 Mountain Ave                        c/o Donough and Donough              101 Hodencamp Rd Ste 120
New Providence, NJ 07974-2736           160 Clairmont Ave, Ste 630           Thousand Oaks, CA 91360-5831
                                        Decatur, GA 30030-2500
              Case 18-55697-lrc   Doc 333-1 Filed 02/02/21 Entered 02/02/21 08:21:05         Desc
                                    Certificate of Service Page 10 of 10
JPMORGAN CHASE BANK N A              Land America Lawyers Title          Karen W Hester
BANKRUPTCY MAIL INTAKE TEAM          Consumer Affairs Dept               1551 Annapolis Way
700 KANSAS LANE FLOOR 01             PO Box 27467                        Grayson, GA 30017-1097
MONROE, LA 71203-4774                Richmond, VA 23261-7567


TitleMax of Georgia, Inc.            Commercial Trade Inc                Herbert C. Broadfoot II
d/b/a TitleMax                       PO Box 10389                        Herbert C. Broadfoot II, PC
15 Bull Street, Suite 200            Bakersfield, CA 93389-0389          Buckhead Centre - Suite 555
Savannah, GA 31401                                                       2964 Peachtree Road, NW
                                                                         Atlanta, GA 30305-2153
American Express National Bank       Jonathan M. Weiss                   Ellice P. Martin
c/o Becket and Lee LLP               Klee, Tuchin, Bogdanoff             Secretary of GA BHDD
PO Box 3001                          & Stern LLP                         Two Peachtree St NW 24th Floor
Malvern, PA 19355-0701               1999 Avenue of the Stars            Atlanta, GA 30303-3142
                                     Los Angeles, CA 90067-6049
Commonwealth Land                    Burgess Title & Escrow LLC          Neiman Marcus
Title Insurance Company              230 Patrick Henry Pkwy #350         PO Box 5235
601 Riverside Ave                    McDonough, GA 30253                 Carol Stream, IL 60197-5235
Jacksonville, FL 32204-2901


All                                  John D. Schlotter                   Neil C. Gordon
104 Marietta St NW                   McCalla Raymer Pierce, LLC          Arnall, Golden & Gregory, LLP
Ste 100                              1544 Old Alabama Road               Suite 2100
Atlanta, GA 30303-2743               Roswell, GA 30076-2102              171 17th Street, NW
                                                                         Atlanta, GA 30363-1031
Stoneleigh Recovery Associates       The Bureaus/Capital One             Aculink Mortgage Solutions
PO Box 1118                          P.O. Box 1479                       8001 Woodland Center Blvd
Charlotte, NC 28201-1118             Lombard, IL 60148-8479              Ste 200
                                                                         Tampa, FL 33614-2434


A. Michelle Hart Ippoliti            DeKalb County Tax Commissioner      Georgia Superior Court
McCalla Raymer                       Attn: Collections                   Clerk Cooperative
Leibert Pierce, LLC                  4380 Memorial Drive Ste 100         1875 Century Blvd Ste 100
1544 Old Alabama Road                Decatur, GA 30032-1239              Atlanta, GA 30345-3314
Roswell, GA 30076-2102
Honorable Justin S. Anand            Amerigroup Corporation (Delaware)   Midland Funding LLC
1864 Richard B Russell               Kathleen S. Keifer                  PO Box 2011
Federal Bldg and US Courthouse       120 Monument Cir                    Warren, MI 48090-2011
Atlanta, GA 30303-3315               Indianapolis, IN 46204-4906


JPMorgan Chase Bank, NA
c/o McCalla Raymer et al
Bankruptcy Department
1544 Old Alabama Rd
Roswell, GA 30076
